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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 10-60194-CR-COHN/SELTZER

  UNITED STATES OF AMERICA,

  v.

  STEVEN STOLL, et al.,

             Defendant.
  ____________________________/

        ORDER DENYING STOLL’S MOTION TO REQUIRE NOTIFICATION AND
                    SETTING MOTION IN LIMINE DEADLINE

         THIS CAUSE is before the Court on Defendant Steven Stoll’s Motion to Require

  Government Notification (Prior to January 1, 2011) of Intent to Introduce Evidence

  Pursuant to Rule 1003 and 1004 Fed. R. Evid. [DE 528]. The Court has considered the

  motion, the Government’s response [DE 558], Stoll’s reply [DE 581], and is otherwise

  advised in the premises.

         Defendant Stoll requests a January 1, 2011 deadline for the Government to

  notify him of all “duplicates” the Government intends to offer at trial. Under Fed. R.

  Evid. 1003, “duplicates” are admissible “unless (1) a genuine question is raised as to

  the authenticity of the original or (2) in the circumstances it would be unfair to admit the

  duplicate in lieu of the original.” The Government represents that “[t]he majority of the

  documents to be offered at trial were received from Defendants’ own

  companies—TurnKey Title Corporation and The Lending House, Inc.” DE 558 at 3.

  Since the burden is on the party objecting to the admissibility of the duplicates to

  establish one of the two exceptions, the Court is going to deny Mr. Stoll’s Motion.

         As the Government has suggested, Mr. Stoll should presume that all documents
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  will be “duplicates.” Should Mr. Stoll or any defendant object to the admissibility of any

  “duplicate,” he may file a motion in limine by no later than February 1, 2011.

         Accordingly, it is

         ORDERED AND ADJUDGED that Defendant Stoll’s Motion to Require

  Government Notification (Prior to January 1, 2011) of Intent to Introduce Evidence

  Pursuant to Rule 1003 and 1004 Fed. R. Evid. [DE 528] is hereby DENIED. Should Mr.

  Stoll or any defendant object to the admissibility of any duplicate, a motion in limine

  must be filed by no later than February 1, 2011.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, on this 6th day of December, 2010.




  Copies provided to:
  Counsel of record via CM/ECF




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